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                        UNITED STATES DISTRICT COURT
                    FOR THE EASTERN DISTRICT OF MICHIGAN
                             SOUTHERN DIVISION


                                             :
 IN RE AUTOMOTIVE PARTS                      :    2:12-md-02311
 ANTITRUST LITIGATION                        :    Honorable Marianne O. Battani
                                             :
                                             :
 ALL CASES                                   :
                                             :
                                             :
 THIS DOCUMENT RELATES TO:                   :
 ALL ACTIONS                                 :
                                             :


        END-PAYOR PLAINTIFFS’ UNOPPOSED MOTION FOR ENTRY OF
             [PROPOSED] ORDER MODIFYING DISCOVERY STAY

       End-Payor Plaintiffs respectfully request that the Court enter the [Proposed] Order

Modifying Discovery Stay, which further modifies the stay of discovery in In re Automotive

Parts Antitrust Litigation (“Auto Parts”). All parties and the U.S. Department of Justice have

agreed on the language set forth in the [Proposed] Order Modifying Discovery Stay. Pursuant

to Local Rule 7.1(a), before filing this motion, End-Payor Plaintiffs ascertained that no party

opposed this motion and obtained concurrence for the relief sought.



Date: October 19, 2017                     Respectfully submitted,

                                           /s/ Steven N. Williams
                                           Steven N. Williams
                                           Elizabeth Tran
                                           COTCHETT, PITRE & McCARTHY, LLP
                                           San Francisco Airport Office Center
                                           840 Malcolm Road, Suite 200
                                           Burlingame, CA 94010
                                           Telephone: (650) 697-6000
                                           Facsimile: (650) 697-0577

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                               swilliams@cpmlegal.com
                               etran@cpmlegal.com

                               Hollis Salzman
                               Bernard Persky
                               William V. Reiss
                               ROBINS KAPLAN LLP
                               399 Park Avenue, Suite 3600
                               New York, NY 10022
                               Telephone: (212) 980-7400
                               Facsimile: (212) 980-7499
                               HSalzman@RobinsKaplan.com
                               BPersky@RobinsKaplan.com
                               WReiss@RobinsKaplan.com

                               Marc M. Seltzer
                               Steven G. Sklaver
                               SUSMAN GODFREY L.L.P.
                               1901 Avenue of the Stars, Suite 950
                               Los Angeles, CA 90067-6029
                               Telephone: (310) 789-3100
                               Facsimile: (310) 789-3150
                               mseltzer@susmangodfrey.com
                               ssklaver@susmangodfrey.com

                               Terrell W. Oxford
                               Chanler Langham
                               Omar Ochoa
                               SUSMAN GODFREY L.L.P.
                               1000 Louisiana Street, Suite 5100
                               Houston, TX 77002
                               Telephone: (713) 651-9366
                               Facsimile: (713) 654-6666
                               toxford@susmangodfrey.com
                               clangham@susmangodfrey.com
                               oochoa@susmangodfrey.com

                               Interim Co-Lead Class Counsel for the Proposed
                               End-Payor Plaintiff Class

                               E. Powell Miller
                               Devon P. Allard
                               THE MILLER LAW FIRM, P.C.
                               The Miller Law Firm, P.C.
                               950 W. University Dr., Ste. 300
                               Rochester, Michigan 48307


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                               epm@millerlawpc.com
                               dpa@millerlawpc.com

                               Interim Liaison Counsel for the Proposed End-
                               Payor Plaintiff Class




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                              CERTIFICATE OF SERVICE

       I hereby certify that on October 19, 2017 I caused the foregoing END-PAYOR

PLAINTIFFS’ UNOPPOSED MOTION FOR ENTRY OF [PROPOSED] ORDER

MODIFYING DISCOVERY STAY to be electronically filed with the Clerk of the Court using

the CM/ECF system, which will send notification of such filing to all counsel of record.



                                                   /s/ Steven N. Williams
                                                   Steven N. Williams




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